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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
CATHERINE KASSENOFF,

                                   Plaintiff,
                 -against-                                                  22 CIVIL 2162 (KMK)

                                                                              JUDGMENT
ALLAN KASSENOFF, CONSTATINE G.
DIMOPOULOS, AND DIMOPOULOS
BRUGGEMANN PC,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated March 27, 2023, Defendants’ motion to dismiss is

granted; accordingly, the case is closed.

Dated: New York, New York

          March 28, 2023


                                                                          RUBY J. KRAJICK

                                                                      _________________________
                                                                            Clerk of Court

                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
